                         Case 15-28607-JKO                      Doc 188           Filed 10/10/17              Page 1 of 13



                                          UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                             FORT LAUDERDALE DIVISION

In re:                                                                 §      Case No. 15-28607-JKO
                                                                       §
GARY FRANCIS HOSTE                                                     §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 10/20/2015. The
        undersigned trustee was appointed on 10/20/2015.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                          $275,680.00

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                    $0.00
                          Administrative expenses                                                                                    $8,393.20
                          Bank service fees                                                                                          $2,320.23
                          Other Payments to creditors                                                                                    $0.00
                          Non-estate funds paid to 3rd Parties                                                                           $0.00
                          Exemptions paid to the debtor                                                                                  $0.00
                          Other payments to the debtor                                                                                   $0.00

                          Leaving a balance on hand of1                                                                          $264,966.57

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.



1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
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     6. The deadline for filing non-governmental claims in this case was 03/23/2016 and the deadline
        for filing government claims was 04/20/2015. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $17,034.00. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of
$17,034.00, for a total compensation of $17,034.002. In addition, the trustee received reimbursement
for reasonable and necessary expenses in the amount of $0.00, and now requests reimbursement for
expenses of $158.39, for total expenses of $158.39.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 10/10/2017                                                         By:       /s/ Sonya L. Salkin
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
                                                                                                                                                       Page No:      1
                                     Case 15-28607-JKO                       FORM
                                                                           Doc 188 1Filed 10/10/17                       Page 3 of 13
                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Exhibit A
                                                                 ASSET CASES
Case No.:                     15-28607-JKO                                                             Trustee Name:                               Sonya L. Salkin
Case Name:                    HOSTE, GARY FRANCIS                                                      Date Filed (f) or Converted (c):            10/20/2015 (f)
For the Period Ending:        10/10/2017                                                               §341(a) Meeting Date:                       11/23/2015
                                                                                                       Claims Bar Date:                            03/23/2016

                         1                                  2                       3                            4                         5                         6

                 Asset Description                       Petition/         Estimated Net Value              Property                 Sales/Funds              Asset Fully
                  (Scheduled and                       Unscheduled        (Value Determined by              Abandoned               Received by the        Administered (FA) /
             Unscheduled (u) Property)                    Value                  Trustee,             OA =§ 554(a) abandon.             Estate               Gross Value of
                                                                         Less Liens, Exemptions,                                                            Remaining Assets
                                                                            and Other Costs)

 Ref. #
1       The La Costa Beach Club                            Unknown                            $0.00                                               $0.00                     FA
        Resort time share 1504 North
        Ocean Boulevard, Unit 223,
        Pompano Beach, FL 33062
2       Bank United Checking Account                      $37,025.81                          $0.00                                         $36,625.80                      FA
        - XXXXXXXX1425 1730
        Sunrise Blvd., Fort Lauderdale,
        FL
3       Citi Bank Checking Account -                            $70.00                        $0.00                                               $0.00                     FA
        3101 N. Federal Highway, Fort
        Lauderdale, FL
4       Security Deposit with Souza                        $1,900.00                          $0.00                                               $0.00                     FA
        Reality, LLC P.O. Box 307
        Newport, KY 41072
5       TV, Couch Set, Dining Set,                         $1,000.00                          $0.00                                               $0.00                     FA
        Bed, Fouton, Fish Tank
6       Clothes                                              $500.00                          $0.00                                               $0.00                     FA
7       Suntrust West IRA                                 $56,400.00                          $0.00                                               $0.00                     FA
8       exam medical equipment and                           $800.00                          $0.00                                               $0.00                     FA
        printer
9      Adversary proceedings                (u)           $0.00                           Unknown                                                 $0.00                     FA
       regarding transfers
Asset Notes:     AP 16-01324-JKO Salkin v. Hoste- pending
10      AP Salkin v Chan et al                   (u)             $0.00                        $0.00                                               $0.00                     FA
Asset Notes:       AP 16-01337-JKO Salkin c. Chan et al- pending
11      Assorted Gold and Silver                 (u)             $0.00                  $238,000.00                                        $239,054.20                      FA
Asset Notes:       Stored in security box, recovered from Singapore, transported by Loomis.


TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                         $97,695.81                     $238,000.00                                       $275,680.00                 $0.00




     Major Activities affecting case closing:
       1. Trustee retaining counsel to assist in pursuing missing unscheduled assets and potential claims against transferees and obtain the garnished funds.
       Adversary proceedings pending. ( 9/23/16). SLS
       2. Claims Bar Date: 03/23/2016; initial review. possible objections sent to counsel. 3/26/16 Claims objections holding pending further administration of
       the case. 9/23/16 SLS claims OK per SLS
       3. Tax returns prepared and filed by Kapila.


 Initial Projected Date Of Final Report (TFR):            01/07/2018                                                      /s/ SONYA L. SALKIN
 Current Projected Date Of Final Report (TFR):                                                                            SONYA L. SALKIN
                                                              Case 15-28607-JKO           Doc 188
                                                                                              FORMFiled
                                                                                                   2 10/10/17                  Page 4 of 13                        Page No: 1                   Exhibit B
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         15-28607-JKO                                                                                    Trustee Name:                           Sonya L. Salkin
 Case Name:                       HOSTE, GARY FRANCIS                                                                             Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***7321                                                                                      Checking Acct #:                        ******0939
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:             10/20/2015                                                                                      Blanket bond (per case limit):          $129,177,000.00
For Period Ending:                10/10/2017                                                                                      Separate bond (if applicable):

       1                2                                 3                                             4                                               5                       6                      7

   Transaction       Check /                          Paid to/                 Description of Transaction                         Uniform            Deposit            Disbursement                 Balance
      Date            Ref. #                       Received From                                                                 Tran Code             $                     $


02/12/2016            (2)      BANKUNITED NA                            TURNOVER OF GARNISHED FUNDS PURSUANT                      1129-000           $36,625.80                                        $36,625.80
                                                                        TO DEMAND LETTER 2/4/2016
02/29/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $24.71          $36,601.09
03/07/2016           1001      SONYA SALKIN                             REIMBURSEMENT FOR COST OF SECURITY BOX                    2420-000                                             $96.00          $36,505.09
                                                                        PURSUANT TO ORDER DATED 3/4/16 (CP 67)
03/14/2016           1002      OUELLETTE & MAULDIN                      payment of court reporter attendance fee pursuant to      2990-000                                           $355.00           $36,150.09
                                                                        local admin order 2016-1A
03/31/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $58.55          $36,091.54
04/26/2016           1003      OUELLETTE AND MAULDIN                    PAYMENT OF COURT REPORTER ATTENDANCE                      2990-000                                           $465.00           $35,626.54
                                                                        FEE PER ORDER DATED 4/26/16 (CP 97)
04/29/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $56.20          $35,570.34
05/31/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $57.31          $35,513.03
06/30/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $55.30          $35,457.73
07/06/2016           1004      OUELLETTE AND MAUDLIN                    PAYMENT OF COURT REPORT FEES PURSUANT                     2990-000                                          $1,897.20          $33,560.53
                                                                        TO ORDER DATED 7/5/16 (CP 122)
07/11/2016           1005      Loomis International INC                 PAYMENT FOR TRANSPORTATION AND                            2420-000                                          $4,810.00          $28,750.53
                                                                        STORAGE PER ORDER DATED 6/24/16 (CP 118)
07/29/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $51.99          $28,698.54
08/31/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $46.18          $28,652.36
09/30/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $44.62          $28,607.74
10/31/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $46.03          $28,561.71
11/30/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $44.48          $28,517.23
12/30/2016                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $45.89          $28,471.34
01/09/2017           1006      LOOMIS INTERNATIONAL (US) INC            PAYMENT OF STORAGE CHARGES                                2420-000                                           $270.00           $28,201.34
                                                                        JULY-DECEMBER PER COURT ORDER DATED
                                                                        6/27/16 (CP 118)
01/31/2017                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $45.81          $28,155.53
02/28/2017                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $41.03          $28,114.50
03/31/2017                     Bank of Texas                            Account Analysis Fee                                      2600-000                                             $55.58          $28,058.92

                                                                                                                                 SUBTOTALS           $36,625.80                     $8,566.88
                                                              Case 15-28607-JKO           Doc 188
                                                                                              FORMFiled
                                                                                                   2 10/10/17                         Page 5 of 13                          Page No: 2                 Exhibit B
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-28607-JKO                                                                                            Trustee Name:                           Sonya L. Salkin
 Case Name:                        HOSTE, GARY FRANCIS                                                                                     Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***7321                                                                                              Checking Acct #:                        ******0939
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:
For Period Beginning:              10/20/2015                                                                                              Blanket bond (per case limit):          $129,177,000.00
For Period Ending:                 10/10/2017                                                                                              Separate bond (if applicable):

       1                2                                3                                              4                                                        5                       6                    7

   Transaction       Check /                         Paid to/                  Description of Transaction                                   Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                      Received From                                                                            Tran Code            $                     $


04/03/2017            (11)     Elemetal Capital                         payment on transfer of metals pursuant to sales order               1229-000        $196,227.34                                      $224,286.26
                                                                        DATED 3/31/17 (CP 161)
04/19/2017            (11)     GARY HOSTE                               PAYMENT ON SETTLEMENT PER ORDER DATED                               1229-000          $42,146.86                                     $266,433.12
                                                                        3/31/17 ( CP 161)
04/26/2017            (11)     GARY HOSTE                               PAYMENT TO ESTATE FOR REIMBURSEMENT                                 1229-000             $680.00                                     $267,113.12
                                                                        OF EXPENSES ON SALE PER SALES ORDER
                                                                        DATED 3/31/17 (CP 161)
04/28/2017                     Bank of Texas                            Account Analysis Fee                                                2600-000                                         $372.30         $266,740.82
05/31/2017                     Bank of Texas                            Account Analysis Fee                                                2600-000                                         $430.43         $266,310.39
06/12/2017           1007      GEORGE RICHARDS                          payment of transportation/securing of metals per order              2420-000                                         $500.00         $265,810.39
                                                                        dated 3/30/17 ( CP 161)
06/30/2017                     Bank of Texas                            Account Analysis Fee                                                2600-000                                         $415.56         $265,394.83
07/31/2017                     Bank of Texas                            Account Analysis Fee                                                2600-000                                         $428.26         $264,966.57

                                                                                          TOTALS:                                                             $275,680.00                $10,713.43          $264,966.57
                                                                                              Less: Bank transfers/CDs                                              $0.00                     $0.00
                                                                                          Subtotal                                                            $275,680.00                $10,713.43
                                                                                              Less: Payments to debtors                                             $0.00                     $0.00
                                                                                          Net                                                                 $275,680.00                $10,713.43



                     For the period of 10/20/2015 to 10/10/2017                                                         For the entire history of the account between 02/12/2016 to 10/10/2017

                     Total Compensable Receipts:                       $275,680.00                                      Total Compensable Receipts:                                 $275,680.00
                     Total Non-Compensable Receipts:                         $0.00                                      Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                     $275,680.00                                      Total Comp/Non Comp Receipts:                               $275,680.00
                     Total Internal/Transfer Receipts:                       $0.00                                      Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                   $10,713.43                                      Total Compensable Disbursements:                             $10,713.43
                     Total Non-Compensable Disbursements:                    $0.00                                      Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                 $10,713.43                                      Total Comp/Non Comp Disbursements:                           $10,713.43
                     Total Internal/Transfer Disbursements:                  $0.00                                      Total Internal/Transfer Disbursements:                            $0.00
                                                              Case 15-28607-JKO         Doc 188
                                                                                            FORMFiled
                                                                                                 2 10/10/17               Page 6 of 13                          Page No: 3               Exhibit B
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-28607-JKO                                                                                  Trustee Name:                           Sonya L. Salkin
Case Name:                       HOSTE, GARY FRANCIS                                                                           Bank Name:                              Bank of Texas
Primary Taxpayer ID #:           **-***7321                                                                                    Checking Acct #:                        ******0939
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:            10/20/2015                                                                                    Blanket bond (per case limit):          $129,177,000.00
For Period Ending:               10/10/2017                                                                                    Separate bond (if applicable):

      1                 2                                3                                             4                                             5                       6                  7

  Transaction        Check /                         Paid to/                  Description of Transaction                       Uniform           Deposit            Disbursement             Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                     $




                                                                                                                                                                                  NET           ACCOUNT
                                                                                         TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE          BALANCES

                                                                                                                                                $275,680.00              $10,713.43            $264,966.57




                     For the period of 10/20/2015 to 10/10/2017                                             For the entire history of the case between 10/20/2015 to 10/10/2017

                     Total Compensable Receipts:                        $275,680.00                         Total Compensable Receipts:                                 $275,680.00
                     Total Non-Compensable Receipts:                          $0.00                         Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                      $275,680.00                         Total Comp/Non Comp Receipts:                               $275,680.00
                     Total Internal/Transfer Receipts:                        $0.00                         Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                    $10,713.43                         Total Compensable Disbursements:                             $10,713.43
                     Total Non-Compensable Disbursements:                     $0.00                         Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                  $10,713.43                         Total Comp/Non Comp Disbursements:                           $10,713.43
                     Total Internal/Transfer Disbursements:                   $0.00                         Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                            /s/ SONYA L. SALKIN
                                                                                                                            SONYA L. SALKIN
                                                        Case 15-28607-JKO CLAIM
                                                                            DocANALYSIS
                                                                                188 Filed  10/10/17
                                                                                        REPORT
                                                                                                                        Page 7 of 13              Page No: 1                Exhibit C


  Case No.                      15-28607-JKO                                                                                   Trustee Name:              Sonya L. Salkin
  Case Name:                    HOSTE, GARY FRANCIS                                                                            Date:                      10/10/2017
  Claims Bar Date:              03/23/2016

 Claim               Creditor Name       Claim           Claim Class         Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest         Tax            Net
  No.:                                    Date                              Status    Tran Code   Amount       Amount       Allowed        Paid                                         Remaining
                                                                                                                                                                                         Balance

         SONYA L. SALKIN               12/21/2015   Trustee Expenses        Allowed   2200-000         $0.00     $158.39      $158.39          $0.00            $0.00          $0.00       $158.39
          P.O. Box 15580
          Plantation FL 33318
         SALKIN LAW FIRM               05/23/2017   Attorney for Trustee    Allowed   3110-000         $0.00   $75,000.00   $75,000.00         $0.00            $0.00          $0.00    $75,000.00
                                                    Fees (Trustee Firm)
         950 S. Pine Island Rd.
         Suite A-150
         PLANTATION FL 33324
Claim Notes: ECF 180
         SALKIN LAW FIRM               05/23/2017   Attorney for Trustee    Allowed   3120-000         $0.00    $1,005.67    $1,005.67         $0.00            $0.00          $0.00     $1,005.67
                                                    Expenses (Trustee
                                                    Firm)
         950 S. Pine Island Rd.
         Suite A-150
         PLANTATION FL 33324
Claim Notes: ECF 180
        LEIDERMAN                      07/16/2017   Attorney for Creditor   Allowed   3991-120         $0.00   $10,975.50   $10,975.50         $0.00            $0.00          $0.00    $10,975.50
        SHELOMITH                                   Fees
        ALEXANDER AND
        SOMODEVILLA
         2699 STIRLING ROAD-C401
         HOLLYWOOD FL 33312-6599
Claim Notes: per order dated 5/4/2017 CP 174
        MARK W. RICKARD,               07/16/2017   Attorney for Creditor   Allowed   3991-120         $0.00   $19,500.00   $19,500.00         $0.00            $0.00          $0.00    $19,500.00
        P.A.                                        Fees
         P.O. Box 16207
         Plantation FL 33318
Claim Notes: per CP 176
         HOWARD LEVINE, ESQ.           07/16/2017   Attorney for Creditor   Allowed   3991-120         $0.00   $22,000.00   $22,000.00         $0.00            $0.00          $0.00    $22,000.00
                                                    Fees
         1560 Lenox Avenue- #307
         Miami Beach FL 33139
Claim Notes: per CP 177
                                                             Case 15-28607-JKO CLAIM
                                                                                 DocANALYSIS
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                                                                                             REPORT
                                                                                                                             Page 8 of 13              Page No: 2                Exhibit C


  Case No.                       15-28607-JKO                                                                                       Trustee Name:              Sonya L. Salkin
  Case Name:                     HOSTE, GARY FRANCIS                                                                                Date:                      10/10/2017
  Claims Bar Date:               03/23/2016

 Claim               Creditor Name           Claim            Claim Class         Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest         Tax            Net
  No.:                                        Date                               Status    Tran Code   Amount       Amount       Allowed        Paid                                         Remaining
                                                                                                                                                                                              Balance

          KAPILA MUKAMAL                   08/28/2017    Accountant for          Allowed   3410-000         $0.00    $5,259.00    $5,259.00         $0.00            $0.00          $0.00     $5,259.00
                                                         Trustee Fees (Other
                                                         Firm)
         1000 S Federal Hwy #200
         Fort Lauderdale FL 33316
Claim Notes: per CP 186
          KAPILA MUKAMAL                   08/28/2017    Accountant for          Allowed   3420-000         $0.00      $38.71       $38.71          $0.00            $0.00          $0.00        $38.71
                                                         Trustee Expenses
                                                         (Other Firm)
         1000 S Federal Hwy #200
         Fort Lauderdale FL 33316
Claim Notes: per CP 186
        LEIDERMAN                08/28/2017              Attorney for Creditor   Allowed   3991-120         $0.00    $2,524.50    $2,524.50         $0.00            $0.00          $0.00     $2,524.50
        SHELOMITH PA                                     Fees
         2699 STIRLING ROAD-C401
         HOLLYWOOD FL 33312-6599
Claim Notes: per CP 175
          JEFFREY MILLER                   08/28/2017    Other Chapter 7         Allowed   2990-000         $0.00   $33,374.20   $33,374.20         $0.00            $0.00          $0.00    $33,374.20
                                                         Administrative
                                                         Expenses
         2699 Stirling Road, C401
         Fort Lauderdale FL 33312
Claim Notes: per CP 161
          SONYA L. SALKIN                  08/28/2017    Trustee                 Allowed   2100-000         $0.00   $17,034.00   $17,034.00         $0.00            $0.00          $0.00    $17,034.00
                                                         Compensation
          P.O. Box 15580
          Plantation FL 33318
      1   NELNET                           01/02/2016    General Unsecured §     Allowed   7100-000         $0.00   $95,418.91   $95,418.91         $0.00            $0.00          $0.00    $95,418.91
                                                         726(a)(2)
           121 South 13th Street, Suite 201
           Lincoln NE 68508
      2   INTERNAL REVENUE                  02/02/2016   Claims of               Allowed   5800-000         $0.00   $22,447.78   $22,447.78         $0.00            $0.00          $0.00    $22,447.78
          SERVICE                                        Governmental Units
           Stop 6525 (SC CIS)
           Kansas City MO 64999-0025
                                                        Case 15-28607-JKO CLAIM
                                                                            DocANALYSIS
                                                                                188 Filed  10/10/17
                                                                                        REPORT
                                                                                                                          Page 9 of 13               Page No: 3                Exhibit C


  Case No.                      15-28607-JKO                                                                                      Trustee Name:              Sonya L. Salkin
  Case Name:                    HOSTE, GARY FRANCIS                                                                               Date:                      10/10/2017
  Claims Bar Date:              03/23/2016

 Claim               Creditor Name       Claim           Claim Class        Claim    Uniform     Scheduled       Claim        Amount         Amount           Interest         Tax            Net
  No.:                                   Date                              Status    Tran Code   Amount         Amount        Allowed         Paid                                         Remaining
                                                                                                                                                                                            Balance

    2a   INTERNAL REVENUE              02/02/2016   General Unsecured §    Allowed   7100-000         $0.00      $1,433.68      $1,433.68         $0.00            $0.00          $0.00      $1,433.68
         SERVICE                                    726(a)(2)
          Stop 6525 (SC CIS)
          Kansas City MO 64999-0025
     3   PYOD, LLC ITS                 02/24/2016   General Unsecured §    Allowed   7100-000         $0.00      $3,392.17      $3,392.17         $0.00            $0.00          $0.00      $3,392.17
         SUCCESSORS AND                             726(a)(2)
         ASSIGNS AS ASSIGNEE
          of Citibank, N.A.
          Resurgent Capital Services
          PO Box 19008
          Greenville SC 29602
     4   CIT                           03/03/2016   General Unsecured §    Allowed   7100-000         $0.00    $379,733.14    $379,733.14         $0.00            $0.00          $0.00    $379,733.14
                                                    726(a)(2)
         One CIT Drive
         Livingston NJ 07039
     5   CITIBANK, N.A.                03/15/2016   General Unsecured §    Allowed   7100-000         $0.00        $356.47       $356.47          $0.00            $0.00          $0.00       $356.47
                                                    726(a)(2)
         c/o Quantum3 Group LLC
         PO Box 280
         Kirkland WA 98083-0280
Claim Notes: (5-1) Money Loaned
     6   JEFFREY MILLER                03/23/2016   Pers. Prop. &          Allowed   4220-000         $0.00    $490,084.91     $36,625.80         $0.00            $0.00          $0.00     $36,625.80
                                                    Intangibles-
                                                    -Nonconsensual Liens
                                                    (judgements, storage
                                                    liens)
         c/o Zach B. Shelomith, Esq.
         2699 Stirling Rd # C401
         Lauderdale FL 33312
                                                                                                              $1,179,737.03   $726,277.92         $0.00            $0.00         $0.00     $726,277.92
                                                          Case 15-28607-JKO    Doc 188        Filed 10/10/17
                                                                              CLAIM ANALYSIS REPORT
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Case No.                      15-28607-JKO                                                                                     Trustee Name:               Sonya L. Salkin
Case Name:                    HOSTE, GARY FRANCIS                                                                              Date:                       10/10/2017
Claims Bar Date:              03/23/2016


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                           Claim           Amount        Amount                   Interest                Tax                 Net
                                                                                Amount           Allowed        Paid                                                             Remaining
                                                                                                                                                                                  Balance


           Accountant for Trustee Expenses (Other Firm)                             $38.71           $38.71            $0.00                   $0.00                $0.00                 $38.71

           Accountant for Trustee Fees (Other Firm)                               $5,259.00        $5,259.00           $0.00                   $0.00                $0.00            $5,259.00

           Attorney for Creditor Fees                                            $55,000.00       $55,000.00           $0.00                   $0.00                $0.00           $55,000.00

           Attorney for Trustee Expenses (Trustee Firm)                           $1,005.67        $1,005.67           $0.00                   $0.00                $0.00            $1,005.67

           Attorney for Trustee Fees (Trustee Firm)                              $75,000.00       $75,000.00           $0.00                   $0.00                $0.00           $75,000.00

           Claims of Governmental Units                                          $22,447.78       $22,447.78           $0.00                   $0.00                $0.00           $22,447.78

           General Unsecured § 726(a)(2)                                        $480,334.37      $480,334.37           $0.00                   $0.00                $0.00          $480,334.37

           Other Chapter 7 Administrative Expenses                               $33,374.20       $33,374.20           $0.00                   $0.00                $0.00           $33,374.20

           Pers. Prop. & Intangibles--Nonconsensual Liens (judgements,          $490,084.91       $36,625.80           $0.00                   $0.00                $0.00           $36,625.80
           storage liens)

           Trustee Compensation                                                  $17,034.00       $17,034.00           $0.00                   $0.00                $0.00           $17,034.00

           Trustee Expenses                                                        $158.39          $158.39            $0.00                   $0.00                $0.00                $158.39
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                                                                                            Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           15-28607-JKO
Case Name:          GARY FRANCIS HOSTE
Trustee Name:       Sonya L. Salkin

                                                                Balance on hand:               $264,966.57


         Claims of secured creditors will be paid as follows:

Claim No. Claimant                    Claim Asserted             Allowed         Interim            Proposed
                                                                Amount of     Payments to            Amount
                                                                   Claim            Date
           6 Jeffrey Miller               $490,084.91           $36,625.80          $0.00          $36,625.80


                                          Total to be paid to secured creditors:                $36,625.80
                                                           Remaining balance:                  $228,340.77

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total        Interim            Proposed
                                                                Requested     Payments to           Payment
                                                                                    Date
Sonya L. Salkin, Trustee Fees                                   $17,034.00          $0.00          $17,034.00
Sonya L. Salkin, Trustee Expenses                                 $158.39           $0.00            $158.39
SALKIN LAW FIRM, Attorney for Trustee Fees                      $75,000.00          $0.00          $75,000.00
SALKIN LAW FIRM, Attorney for Trustee                            $1,005.67          $0.00           $1,005.67
Expenses
Kapila Mukamal, Accountant for Trustee Fees                      $5,259.00          $0.00           $5,259.00
Kapila Mukamal, Accountant for Trustee Expenses                     $38.71          $0.00               $38.71
Other: Howard Levine, Esq., Attorney for Creditor               $22,000.00          $0.00          $22,000.00
Fees
Other: Leiderman Shelomith Alexander and                        $10,975.50          $0.00          $10,975.50
Somodevilla, Attorney for Creditor Fees
Other: Leiderman Shelomith PA, Attorney for                      $2,524.50          $0.00           $2,524.50
Creditor Fees
Other: Mark W. Rickard, P.A., Attorney for Creditor             $19,500.00          $0.00          $19,500.00
Fees
Other: Jeffrey Miller, Other Chapter 7                          $33,374.20          $0.00          $33,374.20
Administrative Expenses




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                          Total to be paid for chapter 7 administrative expenses:                 $186,869.97
                                                             Remaining balance:                    $41,470.80

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                       $0.00
                                                             Remaining balance:                    $41,470.80

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $22,447.78 must be paid in advance of any dividend to general (unsecured)
creditors.

         Allowed priority claims are:

Claim No. Claimant                                             Allowed Amt.           Interim        Proposed
                                                                    of Claim       Payments to       Payment
                                                                                         Date
           2 Internal Revenue Service                             $22,447.78             $0.00      $22,447.78


                                                 Total to be paid to priority claims:              $22,447.78
                                                                Remaining balance:                 $19,023.02

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $480,334.37 have been allowed and will
be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 4.0 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim        Proposed
                                                                    of Claim       Payments to        Amount
                                                                                         Date
           1 Nelnet                                               $95,418.91             $0.00       $3,778.94
          2a Internal Revenue Service                               $1,433.68            $0.00          $56.78
           3 PYOD, LLC its successors and assigns                   $3,392.17            $0.00         $134.34
             as assignee
           4 CIT                                                 $379,733.14             $0.00      $15,038.84
           5 Citibank, N.A.                                           $356.47            $0.00          $14.12


                                Total to be paid to timely general unsecured claims:               $19,023.02



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                                                             Remaining balance:                       $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                        Total to be paid for subordinated claims:                     $0.00
                                                              Remaining balance:                      $0.00




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